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                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
 ------------------------------------------------------------------ X   DOC #: _________________
 DEUTSCHE BANK NATIONAL TRUST CO.,                                  :   DATE FILED: February 26, 2018
 solely in its capacity as Trustee for the                          :
 MORGAN STANLEY STRUCTURED TRUST I                                  :
 2007-1,                                                            :
                                              Plaintiff,            :
                                                                    :
                            -v-                                     :         14-cv-3020 (KBF)
                                                                    :
 MORGAN STANLEY MORTGAGE CAPITAL :                                                 ORDER
 HOLDINGS LLC, as Successor-by-Merger to                            :
 MORGAN STANLEY MORTGAGE CAPITAL :
 INC.,                                                              :
                                              Defendant.            :
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KATHERINE B. FORREST, District Judge:

        The Court is in receipt of the parties’ joint letter dated February 24, 2018, in

which the parties informed the Court that a written settlement agreement is

currently pending approval by the Trust’s certificateholders. (ECF No. 176.) The

parties further informed the Court that the directing certificateholder (who

currently possesses approximately 43% of the outstanding voting rights of the

Trust) intends to vote in favor of approval.

        Based on the high likelihood of settlement and dismissal of this action, the

Court hereby ADJOURNS all future deadlines and hearings in this action. The

parties are directed to provide a status report as soon as the certificateholders take

action, but in any event not later than Monday, April 9, 2018.

        SO ORDERED.

Dated:           New York, New York
                 February 26, 2018
                                                          ____________________________________
                                                                KATHERINE B. FORREST
                                                                United States District Judge
